16-01228-smb          Doc 107        Filed 12/29/17 Entered 12/29/17 16:54:30                      Main Document
                                                   Pg 1 of 9


  Kobre & Kim LLP
  800 Third Avenue
  New York, New York 10022
  Tel +1 212 488 1200
  Michael S. Kim
  Jeremy C. Hollembeak
  Benjamin J.A. Sauter
  Special Counsel to Official Committee of Unsecured Creditors

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

                                                          x
      In re:                                              :
                                                          :                 Chapter 11
      SUNEDISON, INC., et al.,                            :                 Case No. 16-10992 (SMB)
                                            1
                                 Debtors.                 :                 (Jointly Administered)
                                                          x
                                                          :
      OFFICIAL COMMITTEE OF UNSECURED                     :
      CREDITORS, on behalf of the estates of the Debtors, :
                                                          :
                                 Plaintiff,               :                 Adversary Proceeding
                         v.                               :                 No. 16-01228 (SMB)
                                                          :
      WELLS FARGO BANK, N.A., et al.,                     :
                                                          :
                                 Defendants.              :
                                                          x


  1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
      are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE
      Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings,
      LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison
      International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison
      Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison
      Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge
      Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison
      Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308);
      SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC
      (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238); DSP
      Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A); EverStream HoldCo Fund I, LLC
      (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A);
      Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa Holdings, LLC
      (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC (5388); SunE Minnesota
      Holdings, LLC (8926); TerraForm Private Holdings, LLC (5993); Hudson Energy Solar Corporation (3557);
      SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International Construction, LLC
      (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy, LLC (2171); First
      Wind Holdings, LLC (6257); and EchoFirst Finance Co., LLC (1607). Effective June 13, 2017, the address of
      the Debtors’ corporate headquarters is Two City Place Drive, 2nd floor, St. Louis, MO 63141.

                                                            1
16-01228-smb       Doc 107       Filed 12/29/17 Entered 12/29/17 16:54:30                 Main Document
                                               Pg 2 of 9


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          PLEASE TAKE NOTICE that on October 20, 2016, the Official Committee of

  Unsecured Creditors (“Committee”) of SunEdison, Inc. and certain of its affiliates in the

  above-captioned chapter 11 cases, by and through its undersigned counsel, filed a complaint

  [AP Dkt. No. 1 2] (the “Complaint”), commencing the above-captioned adversary proceeding

  (the “Adversary Proceeding”) against certain prepetition first lien and second lien secured

  parties as named party defendants.

          PLEASE TAKE FURTHER NOTICE that on November 22, 2016, the Committee filed

  the Amended Adversary Complaint [AP Dkt. Nos. 12] (the “Amended Complaint”) adding

  certain additional prepetition first lien and second lien secured parties as named party

  defendants. A list of defendants named in the Amended Complaint is provided on Exhibit A

  attached hereto.

          PLEASE TAKE FURTHER NOTICE that while the Adversary Proceeding remained

  pending, the Committee, the Debtors, and certain Defendants, among others, entered into

  negotiations for resolution of the Debtors’ Chapter 11 cases and the Adversary Proceeding.

  Those discussions culminated in the compromises and agreements (the “Committee/BOKF

  Plan Settlement”) embodied in an executed settlement term sheet (“Term Sheet”) attached

  and incorporated into the Debtors’ Second Amended Joint Plan of Reorganization dated as of

  June 12, 2017 [Dkt. No. 3314] (as amended or supplemented in accordance with its terms and

  including all exhibits and supplements thereto, the “Plan”). Among other things, the Term

  Sheet (at 3) provided that “[i]f the [Committee/BOKF Plan] Settlement is approved, and the

  […] Plan becomes effective, all pending litigation will be deemed withdrawn with prejudice

  (and, if necessary, parties will file with the Court any necessary withdrawal notices).”




  2
    Citations to docket entries in this adversary proceeding, No. 16-01228 (SMB), are cited as “AP Dkt. No.”
  Citations to docket entries in the main bankruptcy case, No. 16-01992 (SMB), are cited as “Dkt. No.”

                                                      2
16-01228-smb     Doc 107      Filed 12/29/17 Entered 12/29/17 16:54:30             Main Document
                                            Pg 3 of 9


         PLEASE TAKE FURTHER NOTICE that on July 28, 2017, the Bankruptcy Court

  entered an order confirming the Plan (the “Confirmation Order”). Pursuant to the

  Confirmation Order, including paragraphs Z, 1 and 8, and subject only to the Plan becoming

  effective by its terms, the Bankruptcy Court approved the Committee/BOKF Plan Settlement

  and decreed:

                 On the Effective Date of the Plan, all pending litigation shall be deemed
                 withdrawn with prejudice (subject to the entry of orders dismissing any
                 adversary proceedings or the filing with the Bankruptcy Court of any
                 necessary withdrawal notices). For the avoidance of doubt, the
                 Committee/BOKF Plan Settlement settles any and all issues that may be in
                 dispute (either currently or pending or that could be commenced in the future)
                 among the Creditors’ Committee, BOKF, the Debtors and the Tranche B Roll-
                 Up Lenders/Steering Committee of Prepetition Second Lien Lenders and
                 Noteholders, including, without limitation, regarding Annex II of the
                 Replacement DIP Facility Order, other than any disputes that may arise with
                 respect to the interpretation or effectuation of the Committee/BOKF Plan
                 Settlement, and settles any and all claims and causes of action (current or
                 pending or that could be commenced in the future) that the Creditors’
                 Committee has asserted or may assert against the Prepetition First Lien
                 Secured Parties (as defined in the Replacement DIP Order).

         PLEASE TAKE FURTHER NOTICE that on December 29, 2017, the Debtors filed a

  Notice of Effective Date [Dkt. 4495], in which they advised all parties in interest that the Plan

  became effective on December 29, 2017.

         PLEASE TAKE FURTHER NOTICE that the Committee submits that on account of

  the Plan having become effective on December 29, 2017, and in accordance with the Plan

  and the Confirmation Order, all of the claims and causes of action asserted in the Adversary

  Proceeding were settled, released, and deemed dismissed with prejudice.

         PLEASE TAKE FURTHER NOTICE that the Committee further submits that the

  Adversary Proceeding appropriately should be closed.

         PLEASE TAKE FURTHER NOTICE that pursuant to Rule 7041 of the Federal Rules

  of Bankruptcy Procedure and Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Committee

  hereby dismisses with prejudice the Adversary Proceeding against all defendants.


                                                 3
16-01228-smb   Doc 107   Filed 12/29/17 Entered 12/29/17 16:54:30    Main Document
                                       Pg 4 of 9




  Dated: December 29, 2017
         New York, New York            KOBRE & KIM LLP

                                       /s/ Jeremy Hollembeak    ___
                                       800 Third Avenue
                                       New York, New York 10022
                                       Tel +1 212 488 1200

                                       Michael S. Kim
                                       Jeremy C. Hollembeak
                                       Benjamin J.A. Sauter

                                       Special Counsel to Official
                                       Committee of Unsecured Creditors




                                        4
16-01228-smb   Doc 107   Filed 12/29/17 Entered 12/29/17 16:54:30   Main Document
                                       Pg 5 of 9


                                    Exhibit A
                              Schedule of Defendants




                                        1
16-01228-smb    Doc 107     Filed 12/29/17 Entered 12/29/17 16:54:30         Main Document
                                          Pg 6 of 9




     •   WELLS FARGO BANK, N.A., in its capacity as administrative agent for the
         Prepetition First Lien Facility on behalf of all Prepetition First Lien Lenders not
         individually named as Defendants in the Amended Adversary Complaint
     •   WILMINGTON SAVINGS FUND SOCIETY, FSB, in its capacity as successor
         administrative agent for the Prepetition Second Lien Facility on behalf of all
         Prepetition Second Lien Term Loan Lenders not individually named as Defendants in
         the Amended Adversary Complaint
     •   WILMINGTON TRUST, NATIONAL ASSOCIATION, in its capacity as Indenture
         Trustee on behalf of all holders of Prepetition Second Lien Notes not individually
         named as Defendants in the Amended Adversary Complaint and as Collateral Trustee
         under the Prepetition Security Agreement
     •   683 CAPITAL PARTNERS, LP
     •   APOLLO A-N CREDIT FUND (DELAWARE), LP
     •   APOLLO CAPITAL MANAGEMENT, LP
     •   APOLLO CREDIT STRATEGIES MASTER FUND LTD.
     •   BALDR MASON FUND INC.
     •   BANK OF AMERICA MERRILL LYNCH
     •   BANK OF AMERICA, NATIONAL ASSOCIATION
     •   BARCLAYS BANK PLC
     •   BBVA COMPASS BANK
     •   BLACKROCK FINANCIAL MANAGEMENT, INC.
     •   BRIGADE CAPITAL MANAGEMENT, LP
     •   BRIGADE DISTRESSED VALUE MASTER FUND LTD.
     •   BRIGADE LEVERAGED CAPITAL STRUCTURES FUND LTD.
     •   CADBURY HEDGE FUND ALTERNATIVES PORTFOLIO
     •   CANDLEWOOD FINANCIAL OPPORTUNITIES FUND, LLC
     •   CANDLEWOOD FINANCIAL OPPORTUNITIES MASTER FUND, LP
     •   CANDLEWOOD INVESTMENT GROUP
     •   CANDLEWOOD SPECIAL SITUATIONS MASTER FUND, LTD
     •   CASTLELAKE LP
     •   CENTERBRIDGE PARTERS L.P.
     •   CERBERUS CAPITAL MANAGEMENT, LP
     •   CERBERUS INSTITUTIONAL PARTNERS VI, LP
     •   CIFC ASSET MANAGEMENT LLC
     •   CITIBANK, N.A.
     •   CITICORP NORTH AMERICA, INC.
     •   CITIGROUP FINANCIAL PRODUCTS INC.
     •   CITIGROUP GLOBAL MARKETS, INC.
     •   CL III SOLUTIONS LLC
     •   CL IV SOLUTIONS LLC
     •   CORBIN CAPITAL PARTNERS MANAGEMENT, LLC
     •   CORBIN OPPORTUNITY FUND, L.P.
     •   CREDIT SUISSE LOAN FUNDING
     •   CREDIT SUISSE AG CAYMAN ISLANDS
     •   CRESCENT 1, LP
                                                   2
16-01228-smb   Doc 107   Filed 12/29/17 Entered 12/29/17 16:54:30   Main Document
                                       Pg 7 of 9


     •   CRS MASTER FUND, LP
     •   CVI OPPORTUNITIES FUND I, LLLP
     •   CWD OC522 MASTER FUND, LTD.
     •   CYRUS CANARY MASTER FUND, LP
     •   CYRUS CAPITAL PARTNERS, LP
     •   CYRUS OPPORTUNITIES MASTER FUND II, LTD
     •   CYRUS SELECT OPPORTUNITIES MASTER FUND, LTD.
     •   DEUTSCHE BANK AG CAYMAN ISLANDS
     •   DEUTSCHE BANK AG NEW YORK
     •   EMPYREAN CAPITAL PARTNERS, LP
     •   EMPYREAN INVESTMENTS, LLC
     •   FLAGLER MASTER FUND SPC. LTD., ON BEHALF OF AND FOR THE
         ACCOUNT OF THE CLASS A SEGREGATED PORTFOLIO
     •   FLAGLER MASTER FUND SPC, LTD., ON BEHALF OF AND FOR THE
         ACCOUNT OF THE CLASS B SEGREGATED PORTFOLIO
     •   FORT GEORGE INVESTMENTS, LLC
     •   GOLDMAN SACHS BANK, USA
     •   GREENLIGHT CAPITAL INC.
     •   HIGHBRIDGE INTERNATIONAL, LLC
     •   HIGHBRIDGE TACTICAL CREDIT & CONVERTIBLES MASTER FUND, LP
     •   INVESTMENT PARTNERS IV (A), LLC
     •   JMB CAPITAL PARTNERS MASTER FUND, LP
     •   K SPECIAL OPPORTUNITY FUND, LP
     •   KEYBANK NATIONAL ASSOCIATION
     •   KTRS CREDIT FUND, LP
     •   LINCOLN SQUARE FUNDING ULC
     •   LORIN CAPITAL MANAGEMENT LLC
     •   LUXOR CAPITAL GROUP, LP
     •   LUXOR CAPITAL, LLC
     •   MACQUARIE CAPITAL (USA) INC.
     •   MANCHESTER SECURITIES CORP.
     •   MANGROVE PARTNERS
     •   MARATHON ASSET MANAGEMENT, LP
     •   MARATHON COURT SQUARE, LP
     •   MARATHON CREDIT DISLOCATION FUND, LP
     •   MARATHON LIQUID CREDIT LONG SHORT FUND
     •   MARATHON SPECIAL OPPORTUNITY MASTER FUND, LTD.
     •   MARBLEGATE ASSET MANAGEMENT, LLC
     •   MARBLEGATE SPECIAL OPPORTUNITIES MASTER FUND, LP
     •   MIHI LLC
     •   MORGAN STANLEY SENIOR FUNDING INC.
     •   P MARBLEGATE LTD.
     •   PENTELI MASTER FUND, LTD.
     •   REDWOOD CAPITAL MANAGEMENT, LLC
     •   SAINSBURY’S CREDIT OPPORTUNITIES FUND, LTD.

                                          3
16-01228-smb   Doc 107   Filed 12/29/17 Entered 12/29/17 16:54:30   Main Document
                                       Pg 8 of 9


     •   SOUND POINT CAPITAL MANAGEMENT, LP
     •   STRATEGIC VALUE MASTER FUND LTD.
     •   STRATEGIC VALUE OPPORTUNITIES FUND LP
     •   STRATEGIC VALUE SPECIAL SITUATIONS MASTER FUND III LP
     •   SVP ACQUISITIONS LLC
     •   TENNENBAUM CAPITAL PARTNERS, LLC
     •   TENNENBAUM HEARTLAND CO-INVEST, LP
     •   TENNENBAUM SENIOR LOAN FUND II, LP
     •   TENNENBAUM SENIOR LOAN FUND V, LLC
     •   TENNENBAUM SPECIAL SITUATIONS FUND IX, LLC
     •   TENNENBAUM SPECIAL SITUATIONS FUND IX-S, LP
     •   TENNENBAUM SPECIAL SITUATIONS IX-C, LP
     •   TENNENBAUM SPECIAL SITUATIONS IX-O, LP
     •   THE MANGROVE PARTNERS MASTER FUND, LTD.
     •   THE ROYAL BANK OF CANADA
     •   THE ROYAL BANK OF SCOTLAND PLC
     •   WELLS FARGO BANK NATIONAL ASSOCIATION




                                          4
16-01228-smb     Doc 107    Filed 12/29/17 Entered 12/29/17 16:54:30        Main Document
                                          Pg 9 of 9


                               CERTIFICATE OF SERVICE

          I hereby certify that I caused a true and correct copy of the foregoing Notice of

  Voluntary Dismissal With Prejudice to be served upon all counsel of record by CM/ECF and

  Electronic Mail on the 29th day of December 2017, except that CIFC Asset Management LLC

  and Royal Bank of Scotland PLC were served by Federal Express on the 29th day of December

  2017.


                                             KOBRE & KIM LLP

                                             /s/ Jeremy Hollembeak    ___
                                             800 Third Avenue
                                             New York, New York 10022
                                             Tel +1 212 488 1200

                                             Michael S. Kim
                                             Jeremy C. Hollembeak
                                             Benjamin J.A. Sauter

                                             Special Counsel to Official
                                             Committee of Unsecured Creditors




                                                1
